Case 1:23-cr-00099-LJV-JJM Document 4 Filed 12/11/23 Page 1 of 3




   UNITED STATES DISTRICT COURT
   WESTERN DISTRICT OF NEW YORK
   __________________________________________________


   UNITED STATES OF AMERICA

               vs.

                                              NOTICE OF APPEARANCE

   MICHAEL RONCONE

                                                           23-mj-168

   ________________
   _


   TO: Clerk of the United States District Court
       For the Western District of New York

        PLEASE TAKE NOTICE that I have been retained to represent
   Defendant, Michael Roncone, with regard to the above-entitled action.


   DATED:                              December 11, 2023
                                       Buffalo, New York

                                       Yours, etc.,


                                       s/ Paul G. Dell
                                       PAUL G. DELL
                                       Attorney for Defendant
                                       70 Niagara Street
                                       Buffalo, New York 14202
                                       (716) 362-1156
                                       pgdell@aol.com
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   UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF NEW YORK
   ____________________________________________________

   UNITED STATES OF AMERICA

               vs.

                                                    23-MJ-168


   MICHAEL RONCONE


   _____________________________________________________


                          CERTIFICATE OF SERVICE


         I hereby certify that on December 11, 2023, I electronically filed the
   foregoing with the Clerk of the District Court using the CM/ECF system which
   would then electronically notify all CM/CMF participants on this case.




                                        s / Paul G. Dell
                                        PAUL G. DELL
                                        December 11, 2023
                                        Buffalo, NY 14202
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